           Case 4:20-cr-00317-JM Document 61 Filed 04/19/23 Page 1 of 3

                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 23-1615

                                     United States of America

                                                      Appellee

                                                 v.

                                         Michael Marble

                                                      Appellant


______________________________________________________________________________

        Appeal from U.S. District Court for the Eastern District of Arkansas - Central
                                   (4:20-cr-00317-JM-1)
______________________________________________________________________________

                                             ORDER

       The appellant has failed to pay to the Clerk of the United States District Court the

requisite docketing fees or to file a motion for leave to proceed in forma pauperis with the

district court. Accordingly, appellant is directed to show cause, within fourteen (14) days of the

date of this order, why this appeal should not be dismissed for failure to prosecute. See Eighth

Circuit Rule 3C.

                                                       April 19, 2023



Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




   Appellate Case: 23-1615         Page: 1      Date Filed: 04/19/2023 Entry ID: 5266796
                    Case 4:20-cr-00317-JM Document 61 Filed 04/19/23 Page 2 of 3


Forrest Dunn

From:                ca08ml_cmecf_Notify@ca8.uscourts.gov
Sent:                Wednesday, April 19, 2023 10:58 AM
Subject:             23-1615 United States v. Michael Marble "Clerk order filed sua sponte showcause failure to pay
                     docket fee" (4:20-cr-00317-JM-1)


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                                              Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 04/19/2023

Case Name:       United States v. Michael Marble
Case Number: 23‐1615
Document(s):     Document(s)




Docket Text:
CLERK ORDER: APPELLANT has failed to pay to the Clerk of the District Court the requisite docketing fees. APPELLANT is
directed to show cause within 14 days why this appeal should not be dismissed for failure to prosecute. Response of
Michael Marble due 05/03/2023. [5266796] [23‐1615] (Crystal Henderson)

Notice will be electronically mailed to:

Mr. John William Crow, Assistant U.S. Attorney: will.crow@usdoj.gov, valerie.andrews@usdoj.gov,
stephanie.mazzanti@usdoj.gov, john.webster@usdoj.gov, leslie.bright@usdoj.gov, caseview.ecf@usdoj.gov
Ms. Karen Dellinger, Court Reporter: Karen_Dellinger@ared.uscourts.gov, kdell619@yahoo.com
Mr. Bart Dickinson, Assistant U.S. Attorney: bart.dickinson@usdoj.gov, corey.taylor@usdoj.gov,
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Ms. Tammy H. Downs, Clerk of Court: ared_appeals@ared.uscourts.gov
Ms. Elaine M Hinson, Court Reporter: elaine_hinson@ared.uscourts.gov
Mr. Jimmy C. Morris, Jr.: j.c.morrisatty@gmail.com


Notice will be mailed to:

Mr. Michael Marble
43167‐509
PULASKI COUNTY DETENTION FACILITY
3201 W. Roosevelt Road
Little Rock, AR 72204‐0000

                                                             1
                   Case 4:20-cr-00317-JM Document 61 Filed 04/19/23 Page 3 of 3

The following document(s) are associated with this transaction:
Document Description: Clerk's Order
Original Filename: /opt/ACECF/live/forms/CrystalHenderson_231615_5266796_ClkOrdFailToPayDktFee_245.pdf
Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=04/19/2023] [FileNumber=5266796‐0]
[c88737a75aaad001b9a01a6fdfcfbbf993a56f042b12eb1996ee22ed8f943e0cce0d16bfbe5190a190c0736ae5e33178834b
f8a110cbde91ec068735cc901e8f]]
Recipients:

       Mr. John William Crow, Assistant U.S. Attorney
       Ms. Karen Dellinger, Court Reporter
       Mr. Bart Dickinson, Assistant U.S. Attorney
       Ms. Tammy H. Downs, Clerk of Court
       Ms. Elaine M Hinson, Court Reporter
       Mr. Michael Marble
       Mr. Jimmy C. Morris, Jr.

The following information is for the use of court personnel:


DOCKET ENTRY ID: 5266796
RELIEF(S) DOCKETED:
 showcause failure to pay docket fee
DOCKET PART(S) ADDED: 7254882, 7254883, 7254884




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